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January 10, 2025

VIA ECF

    The Honorable Alvin K. Hellerstein
    United States District Court Judge
    United States District Court for the
    Southern District of New York
    United States Courthouse
    500 Pearl Street
    New York, New York 10007

                      Re: United States v. Charlie Javice, 23-Cr.-251 (S-1) (AKH)

Dear Judge Hellerstein,

       On behalf of our client, Charlie Javice, we respectfully request that the Court give
expedited consideration to her Motion for Severance, filed concurrently with this letter.

          A. Motion to Sever and Supporting Papers

        In support of her motion, Ms. Javice also submits a declaration that contains information
that should not be reviewed by the government or the public because it contains sensitive
information that would reveal key defense strategy of both defendants. For the same reasons,
Ms. Javice has redacted portions of her motion. Accordingly, Ms. Javice has provided to the
Court for ex parte in camera review copies of (1) the unredacted declaration and (2) the
unredacted motion. See Fed. R. Crim. P. 16(d)(1) (“At any time the court may, for good
cause, deny, restrict, or defer discovery or inspection, or grant other appropriate relief. The
court may permit a party to show good cause by a written statement that the court will
inspect ex parte.”).1


1 Ms. Javice described the general nature
                               and believes she describes the issue with sufficient clarity for the
Government to respond. To the extent the court requires further disclosure to the Government,
Ms. Javice respectfully submits the Court should first accept the in camera proffer


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                                                                 to permit the Court to fairly
consider the merits of Ms. Javice’s motion.
                                                               so that she may fairly assess the
impact of the proffered material on the instant motion.

       B.      Request for Expedited Consideration

         Finally, as detailed in her motion, Ms. Javice learned only a few days ago
                                                          and has raised severance to the Court at
the first available opportunity.

        Trial is a mere four weeks away, and all parties are necessarily benefitted by a prompt
resolution of this request. Ms. Javice accordingly requests that the Court set a briefing schedule
that will permit argument on this motion no later than January 17, 2025.

       Mr. Amar does not oppose this motion or the expedited briefing schedule requested.

       C.      Government’s Position

       The Government’s position on the motion to sever and the requested briefing schedule
was requested and provided as follows:

        The Government was advised that defendant intended to file a motion to sever hours
before it was filed today—which, notably, is more than 17 months after the superseding
indictment joining the defendants was returned (Dkt. 27), well past the pretrial motions deadline,
and only one month before trial commences. The Government opposes severance and will
request a schedule for its response after reviewing the motion.

                           [Remainder of page intentionally left blank.]




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Respectfully Submitted

/s/ Sara C. Clark


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